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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS



                                                                       Criminal Action
                                                                       No: 07-10388-WGY

                                    UNITED STATES
                                        Plaintiff

                                             v.

                                  ADAM RODRIGUEZ
                                     Defendant



                                MODIFICATION ORDER

YOUNG, D.J.

           The defendant is to continue participating in the Victory Program for substance
abuse until he completes the program. The defendant is to do 100 hours of community service.
All previous conditions of Supervised Release remain in full force and effect.


                                                               By the Court,

                                                               /s/ Elizabeth Smith

                                                               Deputy Clerk




February 27, 2009

To: All Counsel
